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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:21-cv-02746-RGK-JEM Date October 14, 2021

 

 

Title Terrie Pritchett v. Kiet Hong et al

 

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 

 

Sharon L. Williams Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order to Show Cause

Plaintiff filed a complaint against Defendants on March 30, 2021. (ECF No. 1.) On July 16,
2021, Plaintiff filed a notice of settlement. (ECF No. 15.) The Court orders the parties to show cause as
to why this case should not be dismissed for lack of prosecution by either (1) filing a stipulation of
dismissal by November 8, 2021, or (2) filing a joint status report by November 8, 2021 and appearing
for a scheduling conference on November 8, 2021 at 9:00 AM.

IT IS SO ORDERED.

 

Initials of Preparer

 

 

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